Case 1:20-cv-03010-APM Document 725 Filed 09/28/23 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA, e¢ al.,
Plaintiffs,

v.

GOOGLE LLC,

Defendant.

STATE OF COLORADO, et al.,
Plaintiffs,

V.

GOOGLE LLC,

Defendant.

Case No. 1:20-cv-03010-APM

HON. AMIT P. MEHTA

Case No. 1:20-cv-03715-APM

HON. AMIT P. MEHTA

Order on Posting Trial Materials

A Party (the “Posting Party”) may post on the internet or otherwise disseminate to the

public an admitted trial exhibit or demonstrative that was used in open court by using the

following process:

1. The Posting Party shall include any redactions pursuant to the court-ordered

confidentiality process, and shall also redact all “personal identifiers,” as defined in Local

Rule 5.4(f), as well as other personal identifiable information including direct telephone

numbers, personal addresses, and the beginning of email addresses (i.e., everything

before the “at” (@) symbol but not including names and affiliations of senders and

recipients and the domain portion of email addresses (e.g., @usdoj.gov)).
Case 1:20-cv-03010-APM Document 725 Filed 09/28/23 Page 2 of 2

2. The Posting Party shall provide the proposed redacted public version of an admitted
exhibit in the form that it will be posted to the producing party and non-parties with a
confidentiality interest in the exhibit or demonstrative by 6 pm ET.

3. Within the 3-hour notice period (e.g., 9 pm ET), the producing party may notify the
Posting Party of objections to public posting of the redacted admitted exhibit. The
objecting party must specifically identify the source of the objection and the parties shall
meet and confer promptly on any such objections. If the parties cannot reach resolution,
the parties should be prepared to raise the dispute with the court on the immediate next
trial day. If the noticed party fails to respond before the expiration of the 3-hour notice
period, the Posting Party may proceed with public posting.

4. The Posting Party may not post an objected-to admitted exhibit without seeking
authorization from the Court. For avoidance of doubt, a Party may not post exhibits
solely used in the closed session or those “pushed” into evidence without being used in

open court, without agreement or seeking prior authorization from the Court.

SO ORDERED.

Aes)
Dated: September _, 2023

~~ Amit P. Mehta
United Sta istrict Court Judge

